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                        IN THE UNITED STATE DISTICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

LA UNION DEL PUEBLO ENTERO, et §
al.,                           §
                               §
     Plaintiffs,               §
                               § CIVIL ACTION NO. 5:21-CV-00844-XR
        v.                     § (Consolidated Cases)
                               §
GREGORY W. ABBOTT, et al.,     §
                               §
      Defendants.              §


                    DEFENDANT DISTRICT ATTORNEY KIM OGG’S
                        MOTION TO STAY PENDING APPEAL

       Defendant District Attorney Kim Ogg, in her official capacity as Harris County District

Attorney (“District Attorney Ogg”), files this motion to stay all further discovery and related

proceedings against her in this Court, pending the Fifth Circuit’s resolution of her interlocutory

appeal of this Court’s order that denied in part her motion to dismiss based on the legal defense

of sovereign immunity. See Order of Aug. 2, 2022 (Dkt. 450).

                                       BACKGROUND

       As the Court knows, these consolidated lawsuits concern the constitutionality of various

provisions of the Texas Election Code as amended by the Election Protection and Integrity Act

of 2021 (“S.B. 1”). District Attorney Ogg has been sued by various plaintiff groups not because

of anything she is alleged to have done, but solely because of who she is: the Harris County

District Attorney. This Court recently entered an order allowing some (but not all) claims

brought against District Attorney Ogg to proceed notwithstanding District Attorney Ogg’s

assertion of, among other defenses, sovereign immunity. Dkt. 450.
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       District Attorney Ogg has appealed that interlocutory order, which is immediately

appealable under the collateral order doctrine. Puerto Rico Aqueduct & Sewer Auth. v. Metcalf

& Eddy, Inc., 506 U.S. 139, 141 (1993); Planned Parenthood Gulf Coast, Inc. v. Phillips, 24

F.4th 442, 448 (5th Cir. 2022). District Attorney Ogg now asks the Court to stay all further

discovery and related proceedings against her pending resolution of that appeal.             District

Attorney Ogg is not asking that the entire litigation be stayed, only that the Court stay all

discovery and related proceedings (such as a motion to compel or motion for protective order)

against her and her office while that appeal is decided.

                                          ARGUMENT

       Federal courts have inherent discretion to stay matters before them pending resolution of

issues on appeal. Richardson v. Tex. Sec. of State, 978 F.3d 220, 228 (5th Cir. 2020). Courts

considering exercising discretion to stay a matter employ a familiar four-part test, assessing: “(1)

whether the stay applicant has made a strong showing that he is likely to succeed on the merits;

(2) whether the applicant will be irreparably injured absent a stay; (3) whether issuance of the

stay will substantially injure the other parties interested in the proceeding; and (4) where the

public interest lies.” Id.; Taylor Lohmeyer Law Firm PLLC v. United States, No. SA-18-CV-

1161-XR, 2019 WL 5694116, at *2 (W.D. Tex. Oct. 3, 2019) (Rodriguez, J., granting motion to

stay pending appeal). Of these four factors, numbers (1) and (2) are “most critical.” Richardson,

978 F.3d at 228. “The proponent of a stay bears the burden of establishing its needs.” Id.

       District Attorney Ogg is entitled to a stay pending appeal because each of these four

factors weighs in her favor.

       First, on the likelihood of success on the merits, as the Court recognized in denying

District Attorney Ogg’s motion to dismiss in part, the contours of the Ex parte Young exception



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to sovereign immunity—and what constitutes “a sufficient connection to enforcement” of a

statute for that exception to apply—have been the subject of evolving law. Dkt. 450 at 5-6

(citing, among other cases, Tex. Democratic Party v. Abbott, 961 F.3d 389, 400 (5th Cir. 2020)

(hereinafter “Tex. Democratic Party I”), and Tex. Democratic Party v. Abbott, 978 F.3d 168, 179

(5th Cir. 2020) (hereinafter “Tex. Democratic Party II”)). As the Court also recognized in its

order, the governing law is clear that to avoid the Eleventh Amendment immunity bar under Ex

parte Young, state officials must “have ‘some connection’ to the state law’s enforcement.” Air

Evac EMS, Inc. v. Tex. Dep’t of Ins., 851 F.3d 507, 517 (5th Cir. 2017) (quoting Ex parte Young,

209 U.S. at 157). The requisite “connection” requires establishing both a “particular duty to

enforce the statute in question and a demonstrated willingness to exercise that duty.” Okpalobi

v. Foster, 244 F.3d 405, 416 (5th Cir. 2001) (en banc); Whole Woman’s Health v. Jackson, 13

F.4th 434, 447-48 (5th Cir. 2021) (“Okpalobi teaches that state law enforcement officials’

general duty to enforce state law cannot render them suable under Young”). The state official

“must have taken some step to enforce” the statute. Tex. Democratic Party I, 961 F.3d at 401

(emphasis added).

       The Fifth Circuit has repeatedly held that this Ex parte Young standard requires a plaintiff

to plead and sufficiently demonstrate that the state official took some “affirmative action”

regarding enforcement of the challenged statute, such that the official has “a demonstrated

willingness to enforce that duty.” See id. at 400 (“some step” and “affirmative action”); Tex.

Democratic Party II, 978 F.3d at 179 (same); City of Austin v. Paxton, 943 F.3d 993, 1000 (5th

Cir. 2019) (“Attorney General Paxton is not subject to the Ex parte Young exception because our

Young caselaw requires a higher showing of ‘enforcement’ than the City has proffered”); Air

Evac EMS, 851 F.3d at 510-13 (noting that the state officials at issue were actively involved in



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rate-setting and overseeing the arbitration processes implicated by the challenged law); NiGen

Biotech, L.L.C. v. Paxton, 804 F.3d 389, 392-95 (5th Cir. 2015) (Ex parte Young exception

applied when the attorney general had sent “numerous ‘threatening letters’” to the plaintiffs);

K.P. v. LeBlanc, 627 F.3d 115, 119-25 (5th Cir. 2010) (defendant took an “active role” in

enforcing the statute at issue).

        This appeal will place squarely before the Fifth Circuit the question of whether civil

rights plaintiffs can sue a Texas district attorney to enjoin enforcement of a statute based strictly

on the district attorney’s status as a district attorney in a particular jurisdiction, without any

allegations that the district attorney has taken any action to enforce the statute that is the subject

of those plaintiffs’ claims. There is no allegation by any of Plaintiffs that District Attorney Ogg

had anything to do with the passage of S.B. 1; that she or her office has any intent or desire to

enforce any of its criminal penalty provisions; that she has taken any steps to enforce any of

those criminal penalty provisions against any plaintiff, or anyone else; or that she has threatened

any plaintiff, or anyone else, with enforcement or otherwise created a genuine threat of

enforcement through her conduct. As Plaintiffs openly admit, District Attorney Ogg has been

sued not because of anything she has done, but because of the office she holds. As in Whole

Woman’s Health, it is wholly “speculative” whether District Attorney Ogg will ever enforce any

criminal statutes modified by S.B. 1 against any of Plaintiffs or anyone else.            See Whole

Woman’s Health, 13 F.4th at 443. As the Court is aware, District Attorney Ogg’s position is that

civil rights plaintiffs cannot hale a State of Texas prosecutor into federal court—with all of the

attendant burdens, expenses, and distractions of litigation—if they cannot allege that the

prosecutor has taken some step to enforce the statute at issue.




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        District Attorney Ogg fully respects that this Court has held against her position on this

question. However, as the Court is also well aware, when “a serious legal question is involved,”

a party seeking a stay does not even have to “show a probability of success on the merits.” Ruiz

v. Estelle, 650 F.2d 555, 565 (5th Cir. 1981). It is enough to justify a stay to show that the

serious legal question exists and that the equities favor the stay. Id.; Moore v. Tangipahoa

Parish Sch. Bd., 507 Fed. App’x 389, 393 (5th Cir. 2013) (unpublished) (granting stay using this

standard in sovereign immunity case). The issue of application of Ex parte Young to claims such

as those brought by Plaintiffs is undoubtedly a serious legal question. For the reasons explained

below, the equities militate in favor of a stay here while that serious legal question is addressed

at the Fifth Circuit.

        Second, District Attorney Ogg will be irreparably injured absent a stay. Sovereign

immunity is not a simple shield against liability; it is a complete immunity from being subjected

to the judicial process. Metcalf & Eddy, 506 U.S. at 144. The core irreparable injury District

Attorney Ogg will suffer is being “wrongly haled into court” when the Constitution forbids such

an act. Phillips, 24 F.4th at 449-50. She continues to face the burdens and expenses of federal

court litigation, including having to oppose discovery requests.1 The constitutional value of the

Eleventh Amendment defense “is for the most part lost as litigation proceeds past motion

practice.” Metcalf & Eddy, 506 U.S. at 145. If discovery proceeds against District Attorney Ogg

while the Fifth Circuit considers her appeal, no appellate remedy will be able to turn back the

clock and “undo” the intrusion upon state sovereignty that will have occurred in the meantime.

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         As examples, copies of discovery requests served on District Attorney Ogg by some Plaintiffs
are attached to this motion. See Exhibit A. Among other things, the requested stay will avoid litigation
before the Court on these patently overbroad and non-proportional requests, which seek among other
things “all documents and communications” related to all investigations, criminal proceedings, and
prosecutions regarding any “violation or a suspected violation” of any election laws (not just S.B. 1) since
2016. Such litigation would involve not only issues of overbreadth and non-proportionality but also,
among other things, issues of sovereign immunity and privilege.

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Cf. Veasey v. Perry, 769 F.3d 890, 896 (5th Cir. 2014) (finding irreparable injury where the State

of Texas faced the prospect of administering an election while challenges to election laws were

pending before the Fifth Circuit).

         Third, the remaining parties will not be substantially injured by a stay of the claims

against District Attorney Ogg. While District Attorney Ogg’s appeal is resolved, the remaining

parties may continue to conduct other discovery and litigate their claims and defenses against

other parties.   As the Court is well aware, the consolidated cases are proceeding through

discovery with Plaintiffs and their counsel on one side, and the “State Defendants” (Texas

Governor Greg Abbott, Secretary of State John Scott, and Attorney General Ken Paxton, each in

his official capacity, and the State of Texas) and Intervenor Defendants and their counsel on the

other. Trial is not set until July 2023. Dkt. 437. In addition, District Attorney Ogg’s likelihood

of success on the merits outweighs any injury to Plaintiffs. Veasey, 769 F.3d at 896; Richardson,

978 F.3d at 243; Planned Parenthood of Greater Tex. Surgical Health Servs. v. Abbott, 734 F.3d

406, 419 (5th Cir. 2013).

         Fourth, the public interest supports a stay. Where “the State is the appealing party, its

interest and harm merge with that of the public.” Veasey v. Abbott, 870 F.3d 387, 391 (5th Cir.

2017).

         Chief Judge Lee Rosenthal of the Southern District recently encountered a similar

scenario and granted a stay pending appeal. See Russell v. Harris Cnty., Tex., 500 F. Supp. 3d

577 (S.D. Tex. Nov. 10, 2020); Russell v. Harris Cnty., Tex., No. H-19-226, 2021 WL 2637576

(S.D. Tex. June 25, 2021). The Russell case concerns a challenge to Harris County’s felony bail

procedures. Russell, 500 F. Supp. 3d at 583. The plaintiffs there sued, among other defendants,

the state criminal district judges in Harris County. Id. Those judges moved to dismiss based on



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sovereign immunity. Id. The court denied the motion and the felony judges immediately

appealed. Id. at 621; Russell, 2021 WL 2637576, at *1. That appeal was withdrawn and the

felony judges were dismissed from the case, but the plaintiffs continued to seek discovery from

the judges via non-party subpoenas. Russell, 2021 WL 2637576, at *1. The felony judges

moved to quash based again on sovereign immunity, the court again denied that motion, and the

felony judges again appealed. Id. Recognizing that the felony judges’ sovereign immunity

argument was “untested but nonfrivolous,” the court then stayed all further discovery

proceedings as to the felony judges pending resolution of their appeal. Id. at *2-3. Russell

illustrates that discovery stays in situations such as this are practical and appropriate, even when

the presiding district court judge disagrees with the application of the sovereign immunity

defense being litigated on appeal.

       Furthermore, as the Fifth Circuit recently held, even where there are “serious questions

regarding the constitutionality of” Texas election laws, “for a federal court to proceed to the

merits without certainty of jurisdiction ‘would threaten to grant unelected judges a general

authority to conduct oversight of decisions of the elected branches of Government.’” Whole

Woman’s Health, 13 F.4th at 447-48 (quoting California v. Texas, 141 S. Ct. 2104, 2116 (2021)).

The requested stay would allow for the certain determination of whether Plaintiffs have properly

invoked the Court’s jurisdiction over District Attorney Ogg with respect to the claims they

assert, before subjecting District Attorney Ogg and her office to further burdens, expenses, and

distractions associated with litigation.

                                           CONCLUSION

       For the foregoing reasons, Defendant District Attorney Kim Ogg respectfully requests the

Court grant this motion and stay all further discovery and related proceedings against her or her



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office pending the Fifth Circuit’s resolution of her interlocutory appeal of this Court’s order

denying in part her motion to dismiss.

                                                      Respectfully submitted,

                                                      BUTLER SNOW LLP

                                                      By: /s/ Eric J.R. Nichols
                                                       Eric J.R. Nichols
                                                       State Bar No. 14994900
                                                       eric.nichols@butlersnow.com
                                                       Karson K. Thompson
                                                       State Bar No. 24083966
                                                       karson.thompson@butlersnow.com
                                                       1400 Lavaca Street, Suite 1000
                                                       Austin, Texas 78701
                                                       Tel: (737) 802-1800
                                                       Fax: (737) 802-1801

                                                        ATTORNEYS FOR DEFENDANT
                                                        DISTRICT ATTORNEY KIM OGG,
                                                        IN HER OFFICIAL CAPACITY AS
                                                        HARRIS COUNTY DISTRICT
                                                        ATTORNEY



                             CERTIFICATE OF CONFERENCE

         I hereby certify that I have conferred with counsel for the parties regarding this motion,
and that counsel for the OCA and HAUL Plaintiffs have indicated that they oppose the motion.


                                                              /s/ Eric J.R. Nichols
                                                              Eric J.R. Nichols

                                CERTIFICATE OF SERVICE

       I hereby certify that on August 15, 2022, a true and correct copy of the foregoing
document was served on all counsel of record by filing with the Court’s CM/ECF system.


                                                              /s/ Eric J.R. Nichols
                                                              Eric J.R. Nichols



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